           Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 1 of 28

                                                                1                                                                3
               UNITED STATES DISTRICT COURT                          1          A P P E A R A N C E S/Cont'd
                                                                     2
               EASTERN DISTRICT OF LOUISIANA                             APPEARING FOR DRIL-QUIP, INC.:
                                                                     3     Mr. Wendy W. Bishop
                                                                           WARE JACKSON LEE CHAMBERS, LLP
                                                                     4     America Tower, 42nd Floor
                                                                           2929 Allen Parkway
     IN RE: OIL SPILL     ) MDL NO. 2179                             5     Houston, Texas 77019-7101
                                                                     6
     BY THE OIL RIG       )                                              APPEARING FOR M-I SWACO:
                                                                     7     Mr. James D. Pagliaro
     "DEEPWATER HORIZON" IN ) SECTION "J"                                  MORGAN, LEWIS & BOCKIUS, LLP
                                                                     8     1701 Market Street
     THE GULF OF MEXICO, ON )                                              Philadelphia, Pennsylvania 19103-2921
                                                                     9
     April 20, 2010    ) JUDGE BARBIER                              10   APPEARING FOR HALLIBURTON:
                    ) MAG. JUDGE SHUSHAN                                   Mr. Jon-Bernard Schwartz
                                                                    11     GODWIN RONQUILLO
                                                                           1201 Elm Street, Suite 1700
                                                                    12     Dallas, Texas 75270-2041
                                                                    13     Ms. Angelle M. Adams
                                                                           GODWIN RONQUILLO
                                                                    14     1331 Lamar, Suite 1665
                                                                           Houston, Texas 77010-3133
                                                                    15
                    **************                                       APPEARING FOR MOEX OFFSHORE:
                                                                    16     Ms. Gindi E. Vincent
                     VOLUME 2                                              PILLSBURY, WINTHROP, SHAW, PITTMAN, LLP
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                    **************                                         Houston, Texas 77010-1018
                                                                    18
                                                                         APPEARING FOR THE UNITED STATES:
                                                                    19     Ms. Michelle T. Delemarre
                                                                           U. S. DEPARTMENT OF JUSTICE
            Deposition of JOHN BAXTER, taken at Kirkland &          20     TORT BRANCH, CIVIL DIVISION
                                                                           1425 New York Avenue, N. W.
     Ellis International, 30 St. Mary Axe, 22nd Floor, London       21     Suite 10100
     EC3A 8AF, England, United Kingdom, on the 22nd of June,               Washington, D. C. 20044-4271
                                                                    22
     2011.                                                          23   APPEARING FOR THE STATE OF LOUISIANA:
                                                                           Mr. Lambert J. Hassinger, Jr. "Joe"
                                                                    24     GALLOWAY, JOHNSON, TOMPKINS, BURR AND SMITH
                                                                           701 Poydras Street, 40th Floor
                                                                    25     New Orleans, Louisiana 70139-4003

                                                                2                                                                4
 1            APPEARANCES
 2
                                                                     1                 A P P E A R A N C E S/Cont'd
 3   APPEARING FOR THE PLAINTIFFS' STEERING COMMITTEE:               2
       Mr. Mikal Watts
 4     WATTS, GUERRA CRAFT                                                ALSO PRESENT:
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 5     Suite 100
       300 Convent Street                                            4
 6     San Antonio, Texas 78205                                           THE VIDEOGRAPHER:
 7
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 8     Mr. Richard C. Godfrey                                        6
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 9     30 North LaSalle                                              7
       Chicago, Illinois 60654                                       8
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11   APPEARING FOR BP, INC.:                                         9
       Ms. Lauren O. Casazza                                        10
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       601 Lexington Avenue                                         11
13     New York, New York 10022
14                                                                  12
     APPEARING FOR TRANSOCEAN:                                      13
15     Mr. Robert L. Blankenship
       Mr. M. Benjamin Alexander                                    14
16     PREIS & ROY                                                  15
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17     102 Versailles Boulevard                                     16
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                                                                    21
     APPEARING FOR CAMERON INTERNATIONAL CORPORATION:               22
23     Mr. Joe W. Redden, Jr.
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24     One Houston Center                                           24
       1221 McKinney Street, Suite 4500
25     Houston, Texas 77010-2010                                    25
                                                                                                                   1 (Pages 1 to 4)
                                  PURSUANT TO CONFIDENTIALITY ORDER
            Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 2 of 28

                                             41                                                                 43




9:
                                                                      Do you have any evidence now or -- or
                                                   7   do you know of any evidence that BP has now, that the
                                                   8   Bly investigative team did not have that would support
                                                   9   an allegation that anyone from Transocean acted with
9:30
9:32                                              10   indifference or willful disregard for the safety of
                                                  11   others or in the environment in connection with the
                                                  12   Macondo 252 well?
                                                  13            MR. HASSINGER: Objection.
                                                  14            MR. GODFREY: Form.
9:30
9:32                                              15      A. No.
                                                  16




9:




9:     25

                                             42




:31    1




                                                                             11 (Pages 41 to 44)
                        PURSUANT TO CONFIDENTIALITY ORDER
                     Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 3 of 28
IN RE:   OIL SPILL BY THE OIL RIG "DEEPWATER HORIZON" IN THE GULF OF MEXICO, ON APRIL 20, 2010                                                                                 Reported By:

MARK ROBERT BLY                                                                            February 17, 2011 DIANE TEWIS CLARK, RPR, RMR, CRR

                                                                                                     Page 1                                                                 Page 3
                                UNITED STATES DISTRICT COURT                                                  1    APPEARANCES (Continued):
                                                                                                              2
                               EASTERN DISTRICT OF LOUISIANA                                                         MITHOFF LAW FIRM
                                                                                                              3      (BY: WARNER HOCKER, ESQUIRE)
                                                                                                                     ONE ALLEN CENTER - PENTHOUSE
             IN RE: OIL SPILL                                          MDL NO. 2179                           4      500 DALLAS STREET
                                                                                                                     HOUSTON, TEXAS 77002
             BY THE OIL RIG                                                                                   5
             "DEEPWATER HORIZON"                                       SECTION:                  J                     MDL 2185 SECURITIES PLAINTIFFS
             IN THE GULF OF                                                                                   6        SUBCLASS
             MEXICO, ON                                                JUDGE BARBIER                          7
                                                                                                                     KIRKLAND & ELLIS, LLP
             APRIL 20, 2010                                            MAG. JUDGE SHUSHAN                     8       (BY: RICHARD C. GODFREY, ESQUIRE
                                                                                                                        AND HARIKLIA KARIS, ESQUIRE)
                                                                                                              9      300 NORTH LASALLE
                                                                                                                     CHICAGO, ILLINOIS 60654
                                                                                                              10
                                                                                                                       ATTORNEYS FOR BP
                                                                                                              11
                                                      VOLUME 1                                                12     SULLIVAN & CROMWELL, LLP
                                                                                                                     (BY: MARC DeLEEUW, ESQUIRE)
                                                                                                              13     125 BROAD STREET
                      Deposition of MARK ROBERT BLY, 501                                                             NEW YORK, NEW YORK 1004-2498
             Westlake Park Boulevard, Houston, Texas                                                          14
             77210, taken in the Pan American Life                                                                     ATTORNEYS FOR BP
                                                                                                              15
             Center, Louisiana 70130, reported on                                                             16     U.S. DEPARTMENT OF JUSTICE
             Thursday, February 17th, 2011.                                                                          TORTS BRANCH, CIVIL DIVISION
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                                                                                                     Page 2                                                                 Page 4
  1 APPEARANCES:                                                                                              1    APPEARANCES (Continued):
  2                                                                                                           2
    ON BEHALF OF THE PLAINTIFFS                                                                                     U.S. DEPARTMENT OF JUSTICE
  3 STEERING COMMITTEE:                                                                                       3     TORTS BRANCH, CIVIL DIVISION
  4                                                                                                                 (BY: JESSICA L. McCLELLAN, ESQUIRE)
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      SUITE 2615                                                                                              7     U.S. DEPARTMENT OF JUSTICE
  7   NEW ORLEANS, LOUISIANA 70130                                                                                  TORTS BRANCH, CIVIL DIVISION
  8          - AND -                                                                                          8     (BY: R. MICHAEL UNDERHILL, ESQUIRE)
  9   CUNNINGHAM BOUNDS, LLC                                                                                        450 GOLDEN GATE AVENUE
      (BY: ROBERT T. CUNNINGHAM, ESQUIRE                                                                      9     7TH FLOOR, ROOM 5395
 10   (PRO HAC VICE) AND WILLIAM E. BONNER,                                                                         SAN FRANCISCO, CALIFORNIA 94102-3463
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 11   MARGARET Y. WILLIAMS, ESQUIRE)                                                                                   ATTORNEYS FOR THE UNITED STATES
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                                                                                                              12    HENRY DART, ATTORNEYS AT LAW
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 13                                                                                                                 COVINGTON, LOUISIANA 70433
             - AND -                                                                                          14
 14                                                                                                                    SPECIAL COUNSEL FOR THE LOUISIANA
      LAW OFFICES OF RONNIE G. PENTON                                                                         15       ATTORNEY GENERAL REPRESENTING THE
 15   (BY: RONNIE G. PENTON, ESQUIRE)                                                                                  STATE OF LOUISIANA
      209 HOPPEN PLACE                                                                                        16
 16   BOGALUSA, LOUISIANA 70427-3827                                                                          17    ALABAMA ATTORNEY GENERAL
 17                                                                                                                 (BY: LUTHER STRANGE, ESQUIRE)
       ROBBINS GELLER RUDMANN & DOWD, LLP                                                                     18    501 WASHINGTON AVENUE
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 19   655 WEST BROADWAY, SUITE 1900                                                                                    ATTORNEYS FOR THE STATE OF
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      SAN DIEGO, CALIFORNIA 92101                                                                             21
 20                                                                                                                 MORGAN, LEWIS & BOCKIUS, LLP
         ATTORNEYS FOR PINELLAS PARK,                                                                         22    BY: DENISE SCOFIELD, ESQUIRE)
 21      DEERFIELD BEACH, McKENNA, LIEF                                                                                STEVEN A. LUXTON, ESQUIRE)
         PETERSON AND JEFFERY PICKETT                                                                         23    1201 LAKE ROBBINS DRIVE
 22                                                                                                                 THE WOODLANDS, TEXAS 77380-1124
 23                                                                                                           24
 24                                                                                                                    ATTORNEYS FOR M-I SWACO
 25                                                                                                           25


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New Orleans, LA 70130-6009                                                 Board-Certified Court Reporters                                      Facsimile: (504) 525-9109
                                                                                                                                                           332f104c-dd86-4e61-b1d2-e4e68ca37bdf
                     Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 4 of 28
IN RE:   OIL SPILL BY THE OIL RIG "DEEPWATER HORIZON" IN THE GULF OF MEXICO, ON APRIL 20, 2010                                                                  Reported By:

MARK ROBERT BLY                                                                            February 17, 2011 DIANE TEWIS CLARK, RPR, RMR, CRR

                                                                                            Page 229                                                       Page 231
   1                                                                                                       1




 10                                                                                                       10




                                                                                                          24    A. No, sir, this was a fifth
                                                                                                          25 generation rig, one of the best rigs in the
                                                                                                 ge 230                                                    Page 232
                                                                                                           1   fleet. I think it had as much precaution and
                                                                                                           2   technology that exists in the industry on
                                                                                                           3   this well.




                                                                                                          10




                                                                                                                                 58 (Pages 229 to 232)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                             Telephone: (504) 525-9100
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                                                                                                                                            332f104c-dd86-4e61-b1d2-e4e68ca37bdf
       Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 5 of 28




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  ..
                             601 Povaras'           i 720
                                    Phone: (504) 525-9100

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                                         WITNESS CERTIFICATE



                            I,     MARK ROBERT BLV, have read or have had

                            the foregoing testimony read to me and hereby

                            certify that it is a true and correct transcription

                            of     my testinl0ny,            with the          exception   of   any

                            attached corrections or changes.



1"'\

                    (Date Signed)                                       (Signature)



                                 Signed with corrections oS attached.

                                  Signed with no corrections noted.




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              Baton Rouge, louisiana 70816                  FAX      (225) 291-7990
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              MandevlUe, ,"oulslana 70448 .                 fAX      (S04~ 525:-~1Q9



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                     Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 6 of 28
IN RE:   OIL SPILL BY THE OIL RIG "DEEPWATER HORIZON" IN THE GULF OF MEXICO, ON APRIL 20, 2010                                                                    Reported By:

MARK ROBERT BLY                                                                            February 18, 2011 DIANE TEWIS CLARK, RPR, RMR, CRR

                                                                                            Page 389                                                       Page 391
                                UNITED STATES DISTRICT COURT                                            1 APPEARANCES (Continued):
                               EASTERN DISTRICT OF LOUISIANA                                            2
                                                                                                            WARE, JACKSON, LEE & CHAMBERS, LLP
                                                                                                        3   (BY: C. DENNIS BARROW, JR., ESQUIRE)
                  IN RE: OIL SPILL BY                             MDL NO. 2179                                 DON JACKSON, ESQUIRE)
                  THE OIL RIG                                                                           4   AMERICA TOWER
                  "DEEPWATER HORIZON"                             SECTION:             J                    2929 ALLEN PARKWAY
                                                                                                        5   HOUSTON, TEXAS 77019
                  IN THE GULF OF                                                                        6      ATTORNEYS FOR DRIL-QUIP
                  MEXICO, ON APRIL 20,                            JUDGE BARBIER                         7
                  2010                                            MAG. JUDGE SHUSHAN                        BECK, REDDEN & SECREST
                                                                                                        8   (BY: DAVID J. BECK, ESQUIRE)
                                                                                                               DAVID W. JONES, ESQUIRE)
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                                                                                                       10
                                                                                                               ATTORNEYS FOR CAMERON INTERNATIONAL
                                                       VOLUME 2                                        11      CORPORATION
                                                                                                       12
                                                                                                            JONES, WALKER, WAECHTER, POITEVENT,
                      Deposition of MARK ROBERT BLY, 501                                               13   CARRERE & DENEGRE, LLP
             Westlake Park Boulevard, Houston, Texas                                                        (BY: MICHAEL G. LEMOINE, ESQUIRE
             77210, taken in the Pan American Life Center,                                             14      DOUGLAS C. LONGMAN, JR., ESQUIRE)
             Louisiana, on Friday, February 18, 2011.                                                       600 JEFFERSON STREET, SUITE 1600
                                                                                                       15   LAFAYETTE, LOUISIANA 70501
                                                                                                       16           - AND -
                                                                                                       17   JONES, WALKER, WAECHTER, POITEVENT,
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  1 APPEARANCES:                                                                                        1 APPEARANCES (Continued):
  2                                                                                                     2
  3 ON BEHALF OF THE PLAINTIFFS STEERING                                                                    BINGHAM McCUTCHEN
    COMMITTEE:                                                                                          3   (BY: PATRICK A. HARVEY, ESQUIRE)
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                                                                                                        7
  8          - AND -
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 13                                                                                                    12
             - AND -                                                                                   13   KANNER & WHITELEY
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 18   PETROLEUM CORPORATION                                                                                 LANCE C. WENGER, ESQUIRE
      INGRAM LEE, ESQUIRE                                                                              18   ATTORNEYS-ADVISOR
 19   1201 LAKE ROBBINS DRIVE
      THE WOODLANDS, TEXAS 77380-1124                                                                       OFFICE OF THE SOLICITOR
 20                                                                                                    19   ROCKY MOUNTAIN REGION
      GODWIN RONQUILLO                                                                                      U.S. DEPARTMENT OF THE INTERIOR
 21   (BY: DONALD E. GODWIN, ESQUIRE)                                                                  20   755 PARFET STREET
         R. ALAN YORK, ESQUIRE)                                                                             SUITE 151
 22      STEFANIE K. MAJOR, ESQUIRE)                                                                   21   LAKEWOOD, COLORADO 80215
         MICHELLE W. MacLEOD, ESQUIRE)                                                                 22      OBSERVER FOR THE U.S. DEPARTMENT OF
 23   1201 ELM STREET                                                                                          THE INTERIOR
      SUITE 1700                                                                                       23
 24   DALLAS, TEXAS 75270-2041                                                                         24
 25      ATTORNEYS FOR HALLIBURTON                                                                     25


                                                                                                                                   1 (Pages 389 to 392)
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                     Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 7 of 28
IN RE:   OIL SPILL BY THE OIL RIG "DEEPWATER HORIZON" IN THE GULF OF MEXICO, ON APRIL 20, 2010                                                  Reported By:

MARK ROBERT BLY                                                                            February 18, 2011 DIANE TEWIS CLARK, RPR, RMR, CRR

                                                                                            Page 644                                     Page 646
   1                                                                                                   1




 10                                                                                                    10




 18
 19                    Then would you agree with me
 20           that this rig crew demonstrated competency?
 21               A. My recollection is that we --
 22           that one of the things we're able to look at
 23           was training records and that they all had
 24           the -- the requisite training records.
 25
                                                                                            Page 645                                     Page 647




 10                                                                                                    10




                                                                                                                   65 (Pages 644 to 647)
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                                                                                                                            f473f36b-2903-4456-8646-7d7f35e0efa1
                     Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 8 of 28
IN RE:   OIL SPILL BY THE OIL RIG "DEEPWATER HORIZON" IN THE GULF OF MEXICO, ON APRIL 20, 2010                                                  Reported By:

MARK ROBERT BLY                                                                            February 18, 2011 DIANE TEWIS CLARK, RPR, RMR, CRR

                                                                                            Page 660                                     Page 662
                                                                                                       1




                                                                                                       10




 15                   Anywhere in all of your
 16           investigation did you find any evidence that
 17           anyone or any company in any way deliberately
 18           wanted to cause injury to the environment or
 19           to any person?
 20               A. No, sir, I did not.
 21               Q. Did you find any evidence
 22           that anyone or any company in any way was
 23           malicious or didn't care or intentionally in
 24           any way caused or was willing to cause, about
 25           causing an injury to another human or to the
                                                                                            Page 661                                     Page 663
  1           environment? If you want me to restate that,
  2           I can, but I think you understand what I'm                                               2
  3           saying.
  4               A. I -- I understand. I think I
  5           understand your question.
  6                    My answer is no. I didn't see
  7           any malicious intent in anything that we
  8           observed.
  9               Q. Did you see any evidence that
 10           any company or anyone willfully inflicted                                                10
 11           harm on any person or to the environment?
 12               A. No.
 13               Q. You've seen nothing to indicate,
 14           nor does your report indicate that -- that
 15           anyone acted in any malicious or intentional
 16           or willful fashion; is that correct?
 17               A. I've seen -- We didn't see
 18           anything like that, no.
 19




                                                                                                                   69 (Pages 660 to 663)
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                                                                                                                            f473f36b-2903-4456-8646-7d7f35e0efa1
Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 9 of 28




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                                                    WITNESS CERTIFICATE



                                 I,       MARK ROBERT BLY, have read or have had

                                 the foregoing testimony read to me and hereby

                                 certify that it is a true and correct transcription

                                 of        my testimony,                               with the                      exception   of   any

                                 attached corrections                                    or changes.




                    (Di1te Signed)                                                                     (Signature)



                                        ~}i~lned             with Lorn-:cUons oS attached.

                                         Signed with 110 corrections noted.




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          Mandeville, Louisiana 70448                                                fAX          (504) 525-9109
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   ~.. ~~" ~'i;.;_ .>-,.~Z~,:~ ,,~.~ ,' ;'-~::~:')'=:~~:'~"~:~',.:~~.:'~~~(~': ~~~,~ . ,J~;_:~.;tj:~.~J:;jti~~~~,-
              Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 10 of 28
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                               Reported by:

MARTIN BREAZEALE                                                       May 16, 2011           THU BUI, CCR, RPR

                                                                                                                  Page 1
                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


            IN RE: OIL SPILL                            )         MDL NO. 2179
            by the OIL RIG,                             )
            DEEPWATER HORIZON in                        )         SECTION "J"
            the GULF OF MEXICO,                         )
            April 20, 2010                              )         JUDGE BARBIER
                                                        )
                                                        )         MAG. JUDGE
                                                        )         SHUSHAN




                       Deposition of MARTIN BREAZEALE,
            taken at Pan-American Building, 601 Poydras
            Street, 11th Floor, New Orleans, Louisiana,
            70130, on the 16th of May, 2011.




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                          Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                  Board-Certified Court Reporters      Facsimile:(504) 525-9109
                                                                                                     ca964aa2-94cc-41be-aac9-c887527f28e7
              Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 11 of 28
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                                      Reported by:

MARTIN BREAZEALE                                                       May 16, 2011                              THU BUI, CCR, RPR
                                                                        Page 286                                                         Page 288
                                                                                            1       A. Yes.
                                                                                            2       Q. What was the purpose of your
                                                                                            3   visit?
                                                                                            4       A. To observe some of my trainees
                                                                                            5   onboard the rig.
                                                                                            6       Q. And what did you learn on that
                                                                                            7   visit, if anything?
                                                                                            8       A. If memory serves me correctly, I
                                                                                            9   think Lee Lambert and Chrystal Bodenhamer,
                                                                                           10   two of the trainees that had been onboard
                                                                                           11   actually left the day I arrived, and
                                                                                           12   another trainee, Matt Akins, came in. And
                                                                                           13   I observed Matt for a couple of days, and
                                                                                           14   then I departed.
                                                                                           15       Q. Did you observe anything that
                                                                                           16   caused you to be concerned about the safety
                                                                                           17   of the drilling and well operations?
                                                                                           18       A. No.
                                                                                           19       Q. Did it appear to you that BP's
                                                                                           20   policies and practices for safe drilling
                                                                                           21   and well operations were being followed
                                                                                           22   both by BP and Transocean personnel?
                                                                                           23            MR. KEEGAN:
                                                                                           24              Objection to form.
                                                                                           25       A. That wasn't the intent of my
                                                                        Page 287                                                         Page 289
                                                                                            1   visit. I was there just to observe Matt,
                                                                                            2   Matt Akins.
                                                                                            3       Q. Did you observe anything that
                                                                                            4   led you to believe that BP's policies and
                                                                                            5   practices for safe drilling and well
                                                                                            6   operations were not being followed?
                                                                                            7           MR. KEEGAN:
                                                                                            8             Objection.
                                                                                            9       A. No.
                                                                                           10       Q. On how many occasions did you
                                                                                           11   visit the DEEPWATER HORIZON when it was
                                                                                           12   drilling the Macondo?
                                                                                           13       A. Again, it's a guess. That would
 14        Q. On how many occasions did you                                                14   be four or five.
 15     visit the MARIANAS while it was drilling at                                        15       Q. And we know it arrived in late
 16     Macondo?                                                                           16   January 2010, and we know the incident was
 17        A. If memory serves me correctly,                                               17   April 20th, 2010.
 18     once.                                                                              18              Can you tell me the
 19        Q. What was the date?                                                           19   approximate dates of the four or five
 20        A. I wouldn't have a clue, sir.                                                 20   visits?
 21        Q. No approximate notion of the                                                 21       A. I can tell you the last one was
 22     date? MARIANAS started drilling in                                                 22   three weeks prior to the incident.
 23     October 2009.                                                                      23       Q. Early April, late March of 2010?
 24        A. November or December.                                                        24       A. Yes. Those other visits kind of
 25        Q. Of 2009?                                                                     25   scattered out in between there because
                                                                                                                 73 (Pages 286 to 289)
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New Orleans, LA 70130-6029                                 Board-Certified Court Reporters                           Facsimile:(504) 525-9109
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              Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 12 of 28
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                Reported by:

MARTIN BREAZEALE                                                       May 16, 2011            THU BUI, CCR, RPR
                                                                        Page 290                                    Page 292
  1     there -- different individuals were onboard
  2     the rig. I came -- went out to observe.
  3




                                                                        Page 291                                    Page 293
  1        Q. Did you observe anything that                                                1
  2     gave you any concern about the safety of
  3     the drilling and well operations aboard the
  4     DEEPWATER HORIZON on any of these four or
  5     five visits?
  6        A. No.




                                                                                               74 (Pages 290 to 293)
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New Orleans, LA 70130-6029                                 Board-Certified Court Reporters        Facsimile:(504) 525-9109
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              Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 13 of 28
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                                   Reported by:

MARTIN BREAZEALE                                                       May 16, 2011                            THU BUI, CCR, RPR
                                                                        Page 334                                                       Page 336




                                                                        Page 335                                                       Page 337
  1                                                                                        1




                                                                                           15     Q. Was Lee Lambert in the inaugural
                                                                                           16 class of the wellsite leader training
                                                                                           17 program for deepwater?
                                                                                           18     A. The first class, yes.
                                                                                           19     Q. Okay. How many candidates were
                                                                                           20 in that class?
                                                                                           21     A. Five.
                                                                                           22     Q. Five total?
                                                                                           23     A. Yes.
                                                                                           24     Q. Okay.
                                                                                           25     A. Including Lee.
                                                                                                               85 (Pages 334 to 337)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                           Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                 Board-Certified Court Reporters                         Facsimile:(504) 525-9109
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              Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 14 of 28
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                Reported by:

MARTIN BREAZEALE                                                       May 16, 2011            THU BUI, CCR, RPR
                                                                        Page 338                                    Page 340
  1         Q. All right. Were all of them
  2     assigned to work aboard the DEEPWATER
  3     HORIZON at one time or another?
  4         A. If memory serves me correctly,
  5     all but one.
  6




                                                                        Page 339                                    Page 341
  1                                                                                        1




                                                                                               86 (Pages 338 to 341)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                           Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                 Board-Certified Court Reporters        Facsimile:(504) 525-9109
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              Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 15 of 28
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                                    Reported by:

MARTIN BREAZEALE                                                       May 16, 2011                             THU BUI, CCR, RPR
                                                                        Page 350                                                        Page 352




                                                                                           15      Q. Of the inaugural class, did
                                                                                           16   anyone who was working on the BP rig -- I'm
                                                                                           17   sorry, DEEPWATER HORIZON rig at anytime,
                                                                                           18   report to anyone in BP -- with BP that
                                                                                           19   there were safety critical equipment aboard
                                                                                           20   that rig in poor condition or disrepair?
                                                                                           21           MR. KEEGAN:
                                                                                           22             Objection to form.
                                                                                           23      A. I'm not aware of any.
                                                                                           24      Q. Okay. Did any of the -- the
                                                                                           25   candidates ever report to anyone with BP
                                                                        Page 351                                                        Page 353
  1                                                                                         1   that they believed the DEEPWATER HORIZON
                                                                                            2   crew was incompetent or poorly trained?
                                                                                            3           MR. KEEGAN:
                                                                                            4            Objection to form.
                                                                                            5      A. I never heard that statement.
                                                                                            6      Q. Okay. Did any of the candidates
                                                                                            7   ever report to anyone with BP that the rig
                                                                                            8   had an inadequate safety culture?
                                                                                            9           MR. KEEGAN:
                                                                                           10            Objection to form.
                                                                                           11      A. Not to me.
                                                                                           12      Q. All right. Did any of the
                                                                                           13   candidates ever report to anyone with BP
                                                                                           14   that they observed Mr. Jason Anderson, a
                                                                                           15   toolpusher aboard the rig, exhibit
                                                                                           16   callousness or indifference to the safety
                                                                                           17   of other individuals or the environment?
                                                                                           18           MR. KEEGAN:
                                                                                           19            Objection to form.
                                                                                           20      A. I never heard that statement.
                                                                                           21      Q. Okay. Same question with
                                                                                           22   respect to Dewey Revette, the driller.
                                                                                           23           MR. KEEGAN:
                                                                                           24            Same objection.
                                                                                           25      A. I never heard that statement.
                                                                                                                89 (Pages 350 to 353)
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New Orleans, LA 70130-6029                                 Board-Certified Court Reporters                          Facsimile:(504) 525-9109
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              Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 16 of 28
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                                Reported by:

MARTIN BREAZEALE                                                       May 16, 2011                          THU BUI, CCR, RPR
                                                                        Page 354                                                    Page 356
  1         Q. Okay. Same question with                                                    1      Q. During your time on the rig, did
  2     respect to the ADs who were on tour on the                                         2   you ever observe any behavior by any crew
  3     night of April 20, 2010, Mr. Steven Curtis                                         3   member of the DEEPWATER HORIZON that you
  4     and Mr. Don Clark?                                                                 4   would consider callous or indifferent to
  5            MR. KEEGAN:                                                                 5   the safety of others or the environment?
  6              Objection to form.                                                        6      A. I did not.
  7         A. I never heard a statement.                                                  7
  8         Q. Okay. Are you aware of any
  9     statement made?
 10         A. No.
 11         Q. Okay. And is that true with
 12     respect to Mr. Anderson and Mr. Dewey
 13     Revette?
 14         A. That's correct.
 15         Q. Okay. How about with respect to
 16     the senior toolpusher on the rig, Mr. Randy
 17     Ezell, did any of the candidates report to
 18     anyone with BP that they ever observed
 19     Mr. Ezell exhibit callousness or
 20     indifference to the safety of others or the
 21     environment?
 22            MR. KEEGAN:
 23              Objection to form.
 24         A. Not to my knowledge.
 25         Q. Okay. Same question with
                                                                        Page 355                                                    Page 357
  1     respect to the OIM, Mr. Jimmy Harrell?                                             1
  2         A. Not to my knowledge.
  3             MR. KEEGAN:
  4               Objection.
  5         Q. Same question with respect to
  6     Captain Curt Kuchta?
  7             MR. KEEGAN:
  8               Objection.
  9         A. Again, not to my knowledge.
 10         Q. Okay. Did any of the candidates
 11     report to anyone with BP that any member of
 12     the crew of the DEEPWATER HORIZON ever
 13     exhibited behavior that they considered
 14     callous or indifferent to the safety of
 15     other individuals or the environment?
 16             MR. KEEGAN:
 17               Objection to form.
 18         A. I never heard any statement
 19     or -- or never was made aware of one.
 20         Q. Okay. And you mentioned that
 21     you visited the DEEPWATER HORIZON four or
 22     five times in 2010; is that right?
 23         A. Approximately.
 24         Q. Okay.
 25         A. 2009 and 2010 combined.
                                                                                                             90 (Pages 354 to 357)
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                                                             1                                                               3
              UNITED STATES DISTRICT COURT                        1     Mr. James J. Neath
                                                                        Associate General Counsel
              EASTERN DISTRICT OF LOUISIANA                       2     BP Legal
                                                                        BP AMERICA INC.
                                                                  3     501 Westlake Park Boulevard
     IN RE: OIL SPILL     ) MDL NO. 2179                                Houston, Texas 77079
     BY THEOIL RIG      )                                         4
     "DEEPWATER HORIZON" IN ) SECTION "J"                               Mr. John Gilbert
                                                                  5     BP PLC
     THE GULF OF MEXICO, ON )                                           20 Canada Square
     APRIL 20, 2010    ) JUDGE BARBIER                            6     London E14 5NJ
                                                                        United Kingdom
                   ) MAG. JUDGE SHUSHAN                           7
                                                                  8   APPEARING FOR SIR WILLIAM CASTELL:
                                                                        Mr. Walter Stuart
                                                                  9     Mr. Geoff Nicholas
                                                                        FRESHFIELDS BRUCKHAUS DERINGER
                                                                 10     65 Fleet Street
                                                                        London EC4Y 1HS
                                                                 11     Great Britain
                                                                        United Kingdom
                                                                 12
                                                                        Mr. Robert J. McCallum
                                                                 13     FRESHFIELDS BRUCKHAUS DERINGER
                                                                        520 Madison Avenue, Level 34
                                                                 14     New York, New York 10022
                                                                 15
                                                                      APPEARING FOR TRANSOCEAN:
                   *****************                             16     Mr. Michael A. Carvin
                                                                        JONES DAY
                      VOLUME 1                                   17     51 Louisiana Avenue, N.W.
                   *****************                                    Washington, D.C. 20001-2133
                                                                 18
                                                                        Mr. Sean O'Brien
                                                                 19     SUTHERLAND ASBILL & BRENNAN
           Deposition of Sir William Castell, taken at                  1275 Pennsylvania Avenue, N.W.
                                                                 20     Washington, D.C. 20004
     Kirkland & Ellis International, 30 St. Mary Axe,            21
     22nd Floor, London EC3A 8AF, England, United Kingdom,            APPEARING FOR ANADARKO PETROLEUM COMPANY:
                                                                 22     Ms. Deborah D. Kuchler
     on the 22nd of June, 2011.                                         Mr. Robert E. Guidry
                                                                 23     KUCHLER POLK SCHELL WEINER & RICHESON
                                                                        1615 Poydras Street, Suite 1300
                                                                 24     New Orleans, Louisiana 70112
                                                                 25

                                                             2                                                               4
 1            APPEARANCES                                         1   APPEARING FOR CAMERON INTERNATIONAL CORPORATION:
 2                                                                      Mr. Thomas Ganucheau
 3                                                                2     BECK, REDDEN & SECREST
 4   APPEARING FOR THE PLAINTIFFS' STEERING COMMITTEE:                  One Houston Center
                                                                  3     1221 McKinney Street, Suite 4500
       Mr. Robert T. Cunningham
                                                                        Houston, Texas 77010-2010
 5     CUNNINGHAM BOUNDS, LLC                                     4
       1601 Dauphin Street                                        5   APPEARING FOR MOEX:
 6     Mobile, Alabama 36604                                            Ms. Gindi Eckel Vincent
 7                                                                6     PILLSBURY WINTHROP SHAW PITTMAN
     APPEARING FOR THE DERIVATIVE PLAINTIFFS, MDL 2185                  2 Houston Center
 8   SECURITIES PLAINTIFFS SUBCLASS:                              7     909 Fannin, Suite 2000
       Mr. Bryan M. Payne                                               Houston, Texas 77010-1018
 9     COTCHETT, PITRE & MCCARTHY                                 8
       San Francisco Airport Office Center                        9   APPEARING FOR DRIL-QUIP, INC.:
                                                                        Mr. C. Dennis Barrow, Jr.
10     840 Malcolm Road, Suite 200                               10     WARE, JACKSON, LEE & CHAMBERS
       Burlingame, California 94010                                     America Tower, 42nd Floor
11                                                               11     2929 Allen Parkway
12   APPEARING FOR MDL PLAINTIFFS:                                      Houston, Texas 77019-7101
       Mr. J. Christopher Zainey, Jr.                            12
13     WILLIAMS LAW GROUP, LLC                                   13   APPEARING FOR M-I SWACO:
       909 Poydras Street, Suite 1650                                   Mr. Steven A. Luxton
14     New Orleans, Louisiana 70112                              14     MORGAN, LEWIS & BOCKIUS, LLP
       Maison Grand Caillou                                             1111 Pennsylvania Avenue, NW
15     435 Corporate Drive, Suite 101                            15     Washington, D.C. 20004
                                                                 16
       Houma, Louisiana 70360                                         APPEARING FOR HALLIBURTON:
16                                                               17     Mr. Donald E. Godwin
17   APPEARING FOR BP, INC.:                                            Ms. Jenny L. Martinez
       Mr. Michael Brock                                         18     Mr. R. Alan York
18     Ms. Kimberly Branscome                                           GODWIN RONQUILLO
       COVINGTON & BURLING                                       19     1201 Elm Street, Suite 1700
19     1201 Pennsylvania Avenue, Northwest                              Dallas, Texas 75270-2041
       Washington, D.C. 20004-2401                               20
20                                                               21   APPEARING FOR THE UNITED STATES:
       Mr. Daryl A. Libow                                               Mr. R. Michael Underhill
                                                                 22     Attorney in Charge
21     SULLIVAN & CROMWELL                                              West Coast Office
       1701 Pennsylvania Avenue, N.W.                            23     U.S. DEPARTMENT OF JUSTICE
22     Washington, D.C. 20006-5805                                      TORT BRANCH, CIVIL DIVISION
23                                                               24     450 Golden Gate Avenue
24                                                                      7th Floor, Room 5395
25                                                               25     San Francisco, California 94102-3463

                                                                                                               1 (Pages 1 to 4)
                                   PURSUANT TO CONFIDENTIALITY ORDER
        Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 18 of 28

                                                        285                                                          287




10          Prior to April 20th, BP had contracts with
11   Transocean on at least seven or eight rigs worldwide.
12   Do -- do you know that?
13      A. I don't know, sir.
14      Q. Okay. Would -- would you -- were you aware --
15   or are you aware today that they had a number of
16   contracts with Transocean on different rigs throughout   16      Q. And are you aware that Mr. Hayward thinks that
17   the world?                                               17   Transocean is one of the -- quote, one of world's most
18      A. I'm aware that BP used Transocean extensively      18   respected, close quote, drilling contractors?
19   in its drilling operations.                              19      A. I -- I'm not aware of the quote, sir, but I
20      Q. And has BP terminated any contracts with           20   know the company held Transocean in a high regard for
21   Transocean since April 20th, 2010?                       21   its activities.
22      A. I'm not aware of any termination, sir.
23      Q. Okay. And were you following the BP's cleanup
24   response in the Gulf after the -- the blowout?
25      A. Yes, sir.
                                                        286                                                          288
 1      Q. Was that a high priority for BP, cleaning up
 2   the Gulf in the wake of the blowout?                      2
 3      A. It was a very high priority, sir.
 4      Q. Probably the highest priority you'd had?
 5      A. Yes. I'm surprised you didn't know it was a
 6   priority for BP, but it was a very high priority.
 7      Q. The world was watching, right? It was a very
 8   high priority, correct?
 9      A. Very high priority.
10      Q. Yeah. And do you know who the contractors         1
11   they chose for the relief wells to accomplish that very
12   important goal?
13      A. Well, I believe the rigs were Transocean rigs.
14   I believe that one wasn't available immediately. We --
15   I think we started drilling the first well about May
16   the 6th. I think the second well started I think
17   towards the end of May, when a second drilling
18   capability became available.
19      Q. And that was also -- the second one was also a
20   Transocean rig; isn't that correct?
21      A. I believe they were both Transocean rigs.
22      Q. And there was Transocean's crews on those rigs
23   working on the relief well, correct?
24      A. There were Transocean personnel working in
25   extraordinarily difficult circumstances.
                                                                                     72 (Pages 285 to 288)
                           PURSUANT TO CONFIDENTIALITY ORDER
Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 19 of 28


                                                                    362

  1

  2               I, SIR WILLIAM CASTELL, have read the
  3   foregoing deposition and hereby affix my signature that
  4

  5
  6
      attached Amendment Sheet.        ()
                                  / (~l.
                                         Ceg
      same is true and correct, except as noted on the


                                          . ~ ~.J--
  7                              [,v        ,­
                                 SIR WILLIAM CASTELL
  8
  9

      THE STATE OF
 10

      COUNTY OF
 11
 12               Before me,                              , on
      this day personally appeared SIR WILLIAM CASTELL, known
 13   to me (or proved to me on the oath of
                                  or through
 14   to be the person whose name is subscribed to the
      foregoing instrument and executed the same for the
 15   purposes and consideration therein expressed.
                  GIVEN UNDER my hand and seal of office this
 16         day of                      , 2011.
 17
 18
                       Notary Public in and for
 19                    The State of
 20
 21
 22
 23
 24
 25



                   PURSUANT TO CONFIDENTIALITY ORDER
                  Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 20 of 28
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                      Reported By:

BRETT WILLIAM COCALES VOL. II                                                                  April 26, 2011   DIANE TEWIS CLARK, RPR, RMR, CRR


                                                                                                                                        Page 403
                                      UNITED STATES DISTRICT COURT

                                    EASTERN DISTRICT OF LOUISIANA




               IN RE: OIL SPILL                                                  MDL NO. 2179
               BY THE OIL RIG
               "DEEPWATER HORIZON"                                               SECTION:          J
               IN THE GULF OF
               MEXICO, ON                                                        JUDGE BARBIER
               APRIL 20, 2010                                                    MAG. JUDGE SHUSHAN




                                                               VOLUME 2



                            Deposition of BRETT WILLIAM COCALES,

               17613 Pine Brook Trail, Cypress, Texas 77429,

               taken in the Pan American Life Center, Bayou

               Room 1 and 2, 11th Floor, 601 Poydras Street,

               New Orleans, Louisiana 70130, reported on

               Tuesday, April 26th, 2011.




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                   Telephone: (504) 525-9100
New Orleans, LA 70130-6009                                                Board-Certified Court Reporters                Facsimile: (504) 525-9109
                                                                                                                              22366d14-2381-4a35-b8a4-2045e6795a40
                  Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 21 of 28
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                          Reported By:

BRETT WILLIAM COCALES VOL. II                                                                  April 26, 2011    DIANE TEWIS CLARK, RPR, RMR, CRR

                                                                                           Page 460                                             Page 462
   1                                                                                                   1   were you personally satisfied that, indeed,
                                                                                                       2   the rig and the equipment and the site were
                                                                                                       3   in a safe operating condition?
                                                                                                       4       A. Yes, I was.
                                                                                                       5       Q. And, again, when we're starting
                                                                                                       6   up in Macondo with the DEEPWATER HORIZON,
                                                                                                       7   were you personally satisfied that the
                                                                                                       8   personnel on the rig were trained and
                                                                                                       9   competent prior to commencing drilling and
 10                                                                                                   10   well operations?
                                                                                                      11       A. I did believe so, yes.




                                                                                           Page 461                                             Page 463




 10                                                                                                   10




 25               Q.        And when operations commenced,
                                                                                                                         16 (Pages 460 to 463)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                     Telephone: (504) 525-9100
New Orleans, LA 70130-6009                                                Board-Certified Court Reporters                   Facsimile: (504) 525-9109
                                                                                                                                  22366d14-2381-4a35-b8a4-2045e6795a40
                  Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 22 of 28
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                              Reported By:

BRETT WILLIAM COCALES VOL. II                                                                  April 26, 2011     DIANE TEWIS CLARK, RPR, RMR, CRR

                                                                                           Page 484                                                Page 486
                                                                                                       1   highlighted in yellow and are awaiting parts
                                                                                                       2   that are on order with attached job order
                                                                                                       3   numbers are tracked in the RMSII system. Do
                                                                                                       4   you see that?
                                                                                                       5       A. Yes, sir.
                                                                                                       6       Q. That was your understanding as
                                                                                                       7   well; correct?
                                                                                                       8       A. Yes, correct.

 10                                                                                                   10




                                                                                           Page 485                                                Page 487




  5             Q. Together with Tab 68. All
  6        right, Tab 67 is an e-mail from Angel
  7        Rodriguez to John Guide, Brett Cocales and
  8        others dated March 30, 2010; correct?
  9             A. Correct.
 10             Q. Attaching BP audit working copy                                                    10       Q. So at this point, after all the
 11        which is a 3/29/2010 update of the audit work                                              11   progress and the audits as of the end of
 12        list; correct?                                                                             12   March, 2010, were you satisfied that the
 13             A. Correct, yes.                                                                      13   Transocean DEEPWATER HORIZON rig equipment
 14             Q. And in the second sentence                                                         14   were in safe operating condition for the
 15        there, Mr. Rodriguez says: "I wanted to                                                    15   drilling and well operations they were
 16        mention that the HORIZON's crew completed 63                                               16   undertaking at Macondo?
 17        out of 70 findings in a five-month period                                                  17       A. Yes, I was.
 18        which is commendable."                                                                     18       Q. And similarly, in the same time
 19                 Do you see that?                                                                  19   frame, were you satisfied that the personnel
 20             A. Yes, I do.                                                                         20   on the DEEPWATER HORIZON were trained and
 21             Q. And you agreed with that, didn't                                                   21   competent for the drilling and well
 22        you?                                                                                       22   operations that needed to be undertaken at
 23             A. Yes, I did.                                                                        23   Macondo?
 24             Q. And then he indicates in the                                                       24       A. For the time period of?
 25        next sentence that the remaining findings are                                              25       Q. As of this time period we're
                                                                                                                            22 (Pages 484 to 487)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                       Telephone: (504) 525-9100
New Orleans, LA 70130-6009                                                Board-Certified Court Reporters                     Facsimile: (504) 525-9109
                                                                                                                                     22366d14-2381-4a35-b8a4-2045e6795a40
                  Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 23 of 28
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                      Reported By:

BRETT WILLIAM COCALES VOL. II                                                                  April 26, 2011   DIANE TEWIS CLARK, RPR, RMR, CRR

                                                                                           Page 488                                         Page 490
  1        looking at here, the end of March 2010?                                                     1
  2            A. Right.
  3            Q. Beginning of April?
  4            A. Right.
  5            Q. After all the progress that's
  6        been made on the audit, were you satisfied
  7        that the personnel on the rig were trained
  8        and competent to handle the drilling and well
  9        operations that were anticipated from
 10        Macondo?                                                                                   10
 11            A. Yes, I personally was.
 12            Q. Okay. Did you know anybody at
 13        BP that was not satisfied in that regard at
 14        that time?
 15           MR. NICHOLS:
 16                Objection. Form.
 17           THE WITNESS:
 18                I was not aware of anybody at
 19        this time.
 20




                                                                                           Page 489                                         Page 491




 10                                                                                                   10




                                                                                                                       23 (Pages 488 to 491)
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                                                                                                                              22366d14-2381-4a35-b8a4-2045e6795a40
Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 24 of 28




                                                                ,JUN 2'1 201f
                    WITNESS CERTIFICATE



            I,    BRETT WILLIAM CO CAL ES, have read or

            have had the foregoing testimony read to me and

            hereby certify that          it    is   a   true and correct

            transcri ption        of     my testimony,         with the

            exception        of    any        attached corrections      or

            changes.



      tE51WL__                         ~~-~
      (Date Signed)                             (Signature)



      _~ Sig ned with corrections as attached.

                 Signed with no corrections noted.
 Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 25 of 28


                                                                          Page 1
              UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL          )     MDL NO. 2179
BY THE OIL RIG            )
"DEEPWATER HORIZON" IN    )     SECTION "J"
THE GULF OF MEXICO, ON    )
APRIL 20, 2010            )     JUDGE BARBIER
                          )     MAG. JUDGE SHUSHAN




                    *****************
                         VOLUME 1
                    *****************




         Deposition of Gillian Susan Cowlam, taken at
Kirkland & Ellis International, 30 St. Mary Axe, 22nd
Floor, London EC3A 8AF, England, United Kingdom, on the
7th of June, 2011.




            PURSUANT TO CONFIDENTIALITY ORDER
                                                             ec7cd7a0-f2e0-4db8-b9df-96fe416e5595
     Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 26 of 28

                                Page 106




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                                           20
                                           21




                                Page 107                                                   Page 109
1                                           1      Q. You never learned of any evidence that
                                            2   indicated that Transocean employees aboard the
                                            3   DEEPWATER HORIZON as of April 20, 2010 were indifferent
                                            4   toward the safety of other humans; is that right?
                                            5            MR. BROCK: Object to form.
                                            6      A. I -- I would not -- I said I just worked on --
                                            7   on the statements that I had, and I don't recall any
                                            8   statements of that nature.
                                            9      Q. (By Mr. Johnson) Okay. So you're not aware of
10                                         10   any evidence of that nature of any kind, right?
                                           11      A. No.
                                           12      Q. Okay. Did you ever become aware of any
                                           13   evidence that indicated that the Transocean crew aboard
                                           14   the DEEPWATER HORIZON was indifferent toward the
                                           15   environment in any way?
                                           16            MR. BROCK: Object to form.
                                           17      A. As I said before, because I only saw
                                           18   statements, and there were a very limited number of
                                           19   those. I don't recall anything that said that, no.
                                           20      Q. (By Mr. Johnson) Okay. Aside from not seeing
                                           21   any evidence, has anyone ever told you that the
                                           22   Transocean crew aboard the DEEPWATER HORIZON as of
                                           23   April 20, 2010 acted in a manner indicating that they
                                           24   were indifferent toward the safety of other humans?
                                           25      A. No, no one's ever said that to me.

                                                                   28 (Pages 106 to 109)
               PURSUANT TO CONFIDENTIALITY ORDER
                                                                              ec7cd7a0-f2e0-4db8-b9df-96fe416e5595
         Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 27 of 28

                                               Page 110
 1      Q. How about has anyone ever told you that the
 2   Transocean crew aboard the DEEPWATER HORIZON as of
 3   April 20, 2010 was indifferent toward the environment?
 4   Has anyone ever told you that?
 5      A. No.
 6      Q. Okay. I want to make -- make sure I
 7   understand your testimony earlier, and I think this
 8   will short circuit some of the questions, but I just
 9   want to be clear. Is it fair to say in your -- the
10   three weeks that you were involved in the investigation
11   process that you assisted in an initial gathering of
12   facts, but you weren't involved in generating any of
13   the conclusions expressed in the Bly Report? Is that
14   right?
15      A. That would be absolutely correct.
16      Q. Okay. And in your initial fact gathering, did
17   you learn of any evidence indicating that there were
18   any maintenance problems or deficiencies that caused
19   any of the explosions that occurred on April 20th,
20   2010?
21      A. So because I was there such a limited time, I     21
22   saw no maintenance records or anything around
23   maintenance at all.
24      Q. Okay. So just to be clear, the answer to my
25   question is "No," you didn't see any evidence of that?
                                               Page 111                              Page 113
1      A. That would be correct --                           1
2      Q. Okay.
3      A. -- my answer is "No."




1                                                           10




                                                                  29 (Pages 110 to 113)
                        PURSUANT TO CONFIDENTIALITY ORDER
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Case 2:10-md-02179-CJB-DPC Document 4457-21 Filed 11/01/11 Page 28 of 28




                                                                           201



         1
         2               I, GILLIAN SUSAN COWLAM, have read the
         3   foregoing deposition and hereby affix my signature that

         4   same is true and correct, except as noted on the
         5   attached Amendment Sheet.

         6

         7
                                   . h,AA~
                                  ~AN::':::::-S-U-S-A-N--C-O-W-L-AM-----
         8

         9
             TH8 STA'fE OF    -e.Ac¥:.u I A~6A~~.
        10
             COUNTY OF
        11

        12            Before me,                             , on
             this day personally. appeared GILLIAN SUSAN CONLAN,
        13   known to me (or proved to me on the oath of
                                       or through
        14   to be the person whose name is subscribed to the
             foregoing instrument and executed the same for the
        15   purposes and consideration therein expressed.
                      GIVEN UNDER my hand and seal of office this
        16         day of                     , 2011.



        18
                             Notary Public in and for
        19                   The State of

        20

        21
        22
        23

        24
        25



                          PURSUANT TO CONFIDENTIALITY ORDER
